

Alexandre v Kong Hui Wang (2024 NY Slip Op 51585(U))




[*1]


Alexandre v Kong Hui Wang


2024 NY Slip Op 51585(U)


Decided on November 20, 2024


Supreme Court, Queens County


Dunn, J.


Published by New York State Law Reporting Bureau pursuant to Judiciary Law § 431.


This opinion is uncorrected and will not be published in the printed Official Reports.



Decided on November 20, 2024
Supreme Court, Queens County

Dario Alexandre, Plaintiff,

againstKong Hui Wang, NEW CENTURY MEAT CORP.&nbsp;and YU &amp; QIANG TRADING INC., Defendants.

Index No. 713150/2023

Michael W. Mahan, Esq. for PlaintiffJohn Trop, Esq. for Defendants Kong Hui Wang and New Century Meat Corp.James F, Simermeyer for Defendant YU &amp; Qiang Trading Inc.


Scott Dunn, J.

The e-filed papers listed by NYSCEF Doc. Nos. 29-37 were read on this motion of William Schwitzer &amp; Associates, P.C. ("William Schwitzer &amp; Associates") attorneys of record for plaintiff DARIO ALEXANDRE (the "Plaintiff"), for an Order, inter alia, withdrawing as counsel for Plaintiff.
The Plaintiff commenced this action seeking damages from personal injuries allegedly sustained by the Plaintiff in a motor vehicle accident on December 3, 2022.
"The method of service provided for in an order to show cause is jurisdictional in nature and must be strictly complied with" (Matter of El Greco Socy. of Visual Arts, Inc. v Diamantidis, [*2]47 AD3d 929, 929 [2d Dept 2008]; see also C.H. An Infant Under the Age of 14 v Park Shore Country Day Camp, Inc., 2023 NY Misc. LEXIS 29828 [Sup Ct, Suffolk County Jan. 25, 2023]). "The absence of proper service of an order to show cause deprives the court of jurisdiction to entertain the motion" (Serrao v Slope Stor., 223 AD3d 927, 927 [2d Dept 2024]). Here, no proof of service of the order to show cause on any of the parties has been filed and the order to show cause and supporting papers were not filed on NYSCEF as directed. Accordingly, since there is no proof that the moving papers were served as directed by the order to show cause (NYSCEF Doc. No. 37), the motion must be denied.
It is hereby, ORDERED, that this motion is denied with leave to renew.
This constitutes the Decision and Order of the Court.
Dated: November 20, 2024Long Island City, New YorkSCOTT DUNN, J.S.C.








